
Wright, J.,
delivered the opinion of the Court.
In this case there is no bill of exceptions, and no declaration or plea. The action is ejectment, and we find in the record, the summons and bond for costs, and such reference to the declaration as leaves little room to doubt that it once existed. The parties appeared, and after several continuances, the record shows, that a jury was duly sworn to try the issue joined between them, and after a trial of several days, rendered a verdict, in due form, against the defendant below, upon which the Court gave judgment; a motion for a new trial being overruled. He has brought the case to this Court by an appeal, in the nature of a writ of error, and now asks a reversal of the judgment.
But we cannot reverse a judgment of the Circuit Court, unless it is clearly shown to us to be erroneous. It is not enough, that it may not appear to be right. It must be shown to be wrong. Since the passage of the act of 1852, ch. 152, §§ 4 and 5, the objections to this judgment must be regarded as matters of form and not of substance. We must presume the Circuit Judge acted right, and can only set aside what he has done, where the party complaining shows us substantial errors in the record. How do we know upon .what facts or reason the Circuit Judge acted, in permitting this judgment to stand; and we are bound to suppose, in the absence of anything to the contrary, that he had *117some valid reason. It is true, that in an incidental remark, in tbe opinion of tbe Court, in Wolfenbarger v. Standifer, 3 Sneed, 659, a different doctrine is intimated; but tbe case did not go off on that point, and this question was not then considered by tbe Court. We affirm tbe judgment, and remand tbe cause to tbe Circuit Court, to the end that tbe judgment of that Court may be executed.
